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16                            UNITED STATES DISTRICT COURT

17                         NORTHERN DISTRICT OF CALIFORNIA

18                                     OAKLAND DIVISION

19                                                   Case No. 4:20-cv-05640-YGR-TSH
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21     EPIC GAMES, INC.,                              DECLARATION OF SAMUEL A.
                                                      STUCKEY IN SUPPORT OF EPIC
22                      Plaintiff, Counter-defendant, GAMES, INC.’S OPPOSITION TO
                                                      APPLE INC.’S MOTION TO
                             v.                       STRIKE WRITTEN AND ORAL
23     APPLE INC.,                                    TESTIMONY OF DR. MICHAEL I.
                                                      CRAGG
24                      Defendant, Counterclaimant.
                                                      The Honorable Yvonne Gonzalez Rogers
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 1          I, Samuel A. Stuckey, declare as follows:

 2          1.      I am an attorney licensed to practice in the State of New York and admitted to

 3   appear before this Court pro hac vice in Epic Games, Inc. v. Apple Inc., Case No. 4:20-cv-

 4   05640-YGR-TSH. I am an associate at the law firm of Cravath, Swaine & Moore LLP and am

 5   one of the attorneys representing Epic Games, Inc. (“Epic”) in the above-captioned action.

 6          2.      I submit this declaration in support of Epic’s Opposition to Apple’s Motion to

 7   Strike Written and Oral Testimony of Dr. Michael I. Cragg. The contents of this declaration

 8   are based on my personal knowledge except as to matters stated on information and belief. As

 9   to those matters stated on information and belief, I am informed and believe them to be true. If

10   called to be a witness, I could and would testify competently to the contents of this declaration.

11          3.      On December 2, 2020, Epic served a subpoena on Spotify USA Inc. (“Spotify”)

12   in connection with this action. A true and correct copy of Epic’s December 2, 2020 document

13   subpoena is attached to this declaration as Exhibit A.

14          4.      On December 7, 2020, Defendant Apple Inc. (“Apple”) served a Notice of

15   Subpoena on Epic, which was accompanied by a document subpoena to Spotify, dated

16   December 8, 2020. A true and correct copy of Apple’s December 7, 2020 Notice of Subpoena

17   is attached to this declaration as Exhibit B, and a true and correct copy of Apple’s December 8,

18   2020 document subpoena to Spotify is attached to this declaration as Exhibit C.

19          5.      On January 25, 2021, Epic served a deposition subpoena on Spotify with a date

20   of compliance of February 8, 2021. A true and correct copy of Epic’s January 25, 2021

21   deposition subpoena to Spotify is attached to this declaration as Exhibit D.

22          6.      After Epic served its deposition subpoena on Spotify, counsel for Epic met and

23   conferred with counsel for Spotify regarding the date for the Spotify deposition. During those

24   meet and confer sessions, counsel for Spotify informed counsel for Epic that Spotify was

25   willing to make a witness available for deposition, but that the witness—a senior Spotify

26   executive based in Sweden—was unavailable until February 19, 2021.

27          7.      Epic sought Apple’s consent to hold the Spotify deposition on February 19,

28   2021, but Apple refused by email to consent to the Spotify deposition taking place after the fact


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                                   DECLARATION OF SAMUEL A. STUCKEY
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 1   discovery cutoff in this action. Counsel for Epic and Apple met and conferred telephonically

 2   regarding this issue on February 14, 2021. During that meet and confer, counsel for Apple

 3   again informed counsel for Epic that Apple would not consent to the Spotify deposition taking

 4   place on February 19, 2021. A true and correct copy of the parties’ correspondence concerning

 5   the scheduling of the Spotify deposition is attached to this declaration as Exhibit E.

 6          8.      Counsel for Epic also met and conferred with counsel for Spotify to request that

 7   Spotify provide a witness at trial in this action. Counsel for Spotify informed counsel for Epic

 8   that Spotify was unwilling to provide a trial witness.

 9          9.      On February 12, 2021, Spotify made an initial production of documents.

10          10.     On February 16, 2021, Spotify made a second production of documents stamped

11   with the Bates numbers SPOT-EPIC-00000872-1446. Spotify’s second production included

12   the two JFTC submissions cited by Dr. Cragg, which bear the beginning Bates numbers SPOT-

13   EPIC-00000932 and SPOT-EPIC-00001023.

14          11.     On February 18 and 19, 2021, Spotify clawed back the entirety of its

15   February 12, 2021 production and certain documents from its February 16, 2021 production.

16   Spotify informed Epic that it was clawing back these documents pursuant to a demand from a

17   foreign regulator. Spotify’s two JFTC submissions were not among the materials clawed back.

18          12.     On February 24, 2021, Spotify made a third production consisting of documents

19   stamped with the Bates numbers SPOT-EPIC-00001447-1568. Spotify’s third production

20   included the data cited by Prof. Hitt, which bears the beginning Bates number SPOT-EPIC-

21   00001448.

22          Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is

23   true and correct and that I executed this declaration on May 17, 2021, in Manhattan, New York.

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                                                        /s/ Samuel A. Stuckey
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                                                        Samuel A. Stuckey
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                                   DECLARATION OF SAMUEL A. STUCKEY
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 1                                    E-FILING ATTESTATION

 2          I, Yonatan Even, am the ECF User whose ID and password are being used to file this

 3   document. In compliance with Civil Local Rule 5-1(i)(3), I hereby attest that I have on file all

 4   holographic signatures corresponding to any signatures indicated by a conformed signature

 5   (/S/) within this e-filed document.

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 7                                                      /s/ Yonatan Even
 8                                                      Yonatan Even

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                                   DECLARATION OF SAMUEL A. STUCKEY
                                    Case No. 4:20-cv-05640-YGR-TSH
